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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ               )
AND LUIS GORDILLO, ET AL.,                   )
individually and on behalf of all            )
others similarly situated,                   )
                                             )
     Petitioners-Plaintiffs,                 )
                                             )
           v.                                )    C.A. No. 18-10225-MLW
                                             )
CHAD WOLF, ET AL.,                           )
                                             )
     Respondents-Defendants.                 )

                                      ORDER

WOLF, D.J.                                                  April 10, 2020



     The court has reviewed the parties' April 9, 2020 Status

Report   (Docket   No.   520).   As    the    parties   agree   that   Franklin

Gregorio Ayabar is not a member of the class, the court will take

no further action concerning him.
